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         ORDERED in the Southern District of Florida on August 30, 2019.




                                                                Erik P. Kimball, Judge
                                                                United States Bankruptcy Court
_____________________________________________________________________________

                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                    WEST PALM BEACH DIVISION

        In re:                                             Case No. 18-17091-EPK

        RYAN DUNN,                                         Chapter 7

               Debtor.
        __________________________________/

        MICHAEL R. BAKST,
        Chapter 7 Trustee,

                 Plaintiff,

        v.                                                 Adv. Proc. No. 18-01371-EPK

        RYAN DUNN,

               Defendant.
        __________________________________/

                              FINAL JUDGMENT DENYING DISCHARGE

                 This adversary proceeding came before the Court for trial on May 28, 2019 upon the

        Amended Complaint [ECF No. 19] filed by Michael R. Bakst, as chapter 7 trustee (the

        “Trustee”).    For the reasons stated in the Court’s Memorandum Opinion, entered
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contemporaneously herewith, and pursuant to the provisions of Fed. R. Bankr. P. 7058, the

Court ORDERS and ADJUDGES as follows:

       1.     Final Judgment is entered in favor of the Trustee and against Ryan Dunn (the

              “Debtor”).

       2.     The Debtor’s discharge is denied pursuant to each of 11 U.S.C. §§

              727(a)(2)(A), 727(a)(3), 727(a)(4)(A), and 727(a)(5).


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Copy to:

All parties of record by the Clerk




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